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           EXHIBIT A
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FITAPELLI
SCHAFFER
                             &      28 Liberty Street 30th Floor• New York NY 10005
                                    Telephone: (212) 300-0375 • Facsimile: (212) 481-1333 • www.fslawfirm.com
-   -   ATTORNEYS AT LAW -   -




                                 CONFIDENTIAL SETTLEMENT COMMUNICATION
                                        PURSUANT TO FED. R. EVID. 408

                                                                                     May 9, 2022

        VIA FEDERAL EXPRESS
        Eight Oranges Inc.
        Chibaola Inc.
        13 St. Mark Place
        New York, NY 10003
        Attn: Legal Department


                             Re: Wage and Hour Claims at The Bao and Uluh

        To Whom it May Concern:

                Please be advised that the undersigned law office, Fitapelli & Schaffer, LLP, represents
        Jessy Mangahas, Jinnapat Nutcharat, Jason Quijije, Keno Dacusin, Upendra Shahi, Ying Ying
        Yuan, Thinley Kalsang, Vorrowalan Aphiromdechanon, Yi Zhang, Yongfeng Situ, Wen Bin Zhu,
        and Wochao Chen (collectively "Plaintiffs") regarding their employment at The Bao and Uluh. It
        is our position that Plaintiffs, along with all other similarly situated current and former servers,
        runners, bussers, bartenders, and barbacks (collectively, "FOH Workers") were not paid the
        appropriate wages for the hours they worked. As a result, we believe Plaintiffs and all other
        similarly situated FOH Workers have viable claims against The Bao and Uluh's corporate and
        individual owners - Eight Oranges Inc., Chibaola Inc., and Richard Lam (collectively,
        "Defendants") - under the Fair Labor Standard Act ("FLSA") and New York Labor Law
        ("NYLL") for minimum and overtime wages, tip misappropriation, and other violations.

                 We write to inform Defendants of these claims and to invite a pre-litigation response. We
        would welcome a dialogue to explore the possibility of an early resolution of this matter before
        costly litigation ensues. Our firm has successfully resolved cases against businesses with
        comparable compensation practices through similar pre-litigation discussions. Absent a pre-
        litigation resolution, we will pursue Plaintiffs wage and hour claims in court on a class basis.

            I.         WAGE AND HOUR VIOLATIONS


                Defendants have instituted policies and practices that violate the FLSA and NYLL in
        various ways, including policies that violate well-settled tip credit regulations and non-tip credit
        regulations. Each will be discussed in turn.
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           A. Minimum Wage Violations

                   i. Defendants distributed tips to tip-ineligible employees under the FLSA
                       andNYLL.

        Under the FLSA and NYLL, an employer is not entitled to a tip credit if it dilutes the tip
pool by including employees who do not customarily receive tips. See 29 U.S.C. § 203(m); NYLL
§ 196-d; see also Gomez v. MLB Enterprises Corp., No. 15 Civ. 3326 (CM), 2018 WL 3019102,
at *6 (S.D.N.Y. June 5, 2018), citing Shariar v. Smith & Wollensky Rest. Grp. Inc. , 659 F.3d 234,
240 (2d Cir. 2011). "When deciding whether an employee customarily and regularly receives tips,
courts must determine whether the employee's job is historically a tipped occupation and whether
he has more than 'de minimis' interaction with customers as a part of his employment." Fonseca
v. Dircksen & Talleyrand Inc., No. 13 Civ. 5124 (AT), 2014 WL 1487279, at *2 (S.D.N.Y. Apr.
11, 2014) (citations omitted).

        FOH Workers at both restaurants are required to share tips with expeditors and managers,
and at The Bao, with the soup dumpling cook. These positions are all tip ineligible.

        Expeditors are responsible for the flow of food service from the kitchen and their primary
job duties are to oversee the quality and presentation of food, ensure that food is sent out of the
kitchen in a timely fashion, kitchen side work, restocking the expeditor station (in the kitchen),
and ensuring that requested modifications and dietary restrictions are met. Expeditors are not
responsible for running food to the customers. As a result, the expeditors at The Bao and Uluh are
tip-ineligible employees. See Shahriar, 659 F.3d at 240 (finding expeditors were not tip eligible if
they did not provide customer service); Schear v. Food Scope Am., Inc., 297 F.R.D. 114, 132
(S.D.N.Y. 2014) (denying the defendant's motion for summary judgment where the plaintiffs
maintained that expediters did not take customer orders, had no contact with customers, and did
not leave the kitchen). Likewise, the soup dumping cook is tip-ineligible under well-settled
caselaw. See, e.g., Fermin v. Las Delicias Persuananas Restaurant, Inc., 93 F. Supp. 3d 19, at 41
(E.D.N.Y. 2015) ("Certain back-of-the-house restaurant staff, including cooks . .. cannot
participate in valid tip pools . .. because they do not interact with customers.").

        In addition, Courts have denied summary judgment to defendants where the plaintiffs have
alleged little to no customer interaction on the part of baristas, a position similar to that of the
expeditors and the soup dumpling cook at issue here. It is well-settled that an employer cannot
require tipped employees to share tips with employees similar to expeditors. See, e.g. , Chhab v.
Darden Restaurants, Inc., No. 11 Civ. 8345 (NRB), 2013 WL 5308004, at *13 (S.D.N.Y. Sept.
20, 2013) ("[p]laintiffs have established that silverware polishers and dishwashers are tip-
ineligible employees because they do not interact with customers at [The Capitol Grille], as their
primary responsibility was to clean flatware and glasses in the kitchen area, away from table
service."); Salinas v. Starjem Rest. Corp., 123 F. Supp. 3d 442, 468 (S.D.N.Y. 2015) (holding that
stockers and coffee preparers were tip-ineligible employees because they did not readily interact
with customers); Murphy v. Lajaunie, No. 13 Civ. 6503 (RJS), 2016 WL 1192689, at *3 (S.D.N.Y.
Mar. 22, 2016) (stating "tip splitting should be limited to employees, who, like waiters and
busboys, are ordinarily engaged in personal customer service."); Fermin, 93 F. Supp. 3d at 38.
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        Defendants also allowed managers at both restaurants to keep a portion of tips that should
have completely gone to Plaintiffs and other FOH Workers. Specifically, Defendants at The Bao
required Plaintiffs to turn in all cash tips to the cash register comingling Plaintiffs tips on a daily
basis. At the end of the week, the tips that Plaintiffs received were less than what they should have
received. As a result, either managers received a percentage of the weekly tips or Defendants
themselves kept a percentage. Under either scenario, Defendants violated the FLSA and NYLL.
29 U.S.C. § 203(m)(2)(B); see, e.g., Gillian v. Starjem, 2011 WL 4639842, at *4 (S.D.N.Y. Oct.
4, 2011) ("The practice of forced sharing of tips with management is an illegal practice"); see also
USDOL Fact Sheet #15.

         As a result of the improper tip sharing arrangements above, Defendants violated §203(m)
and therefore cannot avail themselves of the tip credit minimum wage rate under the FLSA or
NYLL. See, e.g., Gomez, 2018 WL 3019102, at *6. Any employer who violates this section "shall
be liable to the employee or employees affected in the amount of the sum of any tip credit taken
by the employer and all such tips unlawfully kept by the employer, and in an additional equal
amount as liquidated damages." 29 U.S.C. § 216(b). As Chief Judge McMahon held, employers
lose their entitlement to claim a tip credit under both the FLSA and NYLL by unlawfully retaining
employees' tips. Gomez, 2018 WL 3019102, at *5-6 ("Defendants are liable for the difference
between the wages they actually paid (p]laintiff and the minimum wage at the time under the FLSA
. . . or NYLL ... whichever was higher."); see also 29 U.S.C. § 216(b). As a result, Defendants
have been unlawfully applying the "tip credit" towards its FOH Workers' wages.

                   ii. Defendants failed to provide proper notice of the tip credit under the
                       NYLL.

        The NYLL allows employers to pay tipped employees in the food service industry a lower
minimum wage by taking a "tip credit." See 12 N.Y.C.R.R. § 146-1.3. The New York Department
of Labor Hospitality Industry Wage Order ("Wage Order") requires employers availing themselves
of the tip credit to provide each employee prior to the start of employment "written notice of the
employee's regular hourly pay rate, overtime hourly pay rate, the amount of tip credit, if any, to
be taken from the basic minimum hourly rate, and the regular payday." 12 N.Y.C.R.R. § 146-2.2
(emphasis added), Hristova v. 3321 Astoria Inc., No. 17 Civ. 1633 (RER) (E.D.N.Y. June 27,
2019) (holding that a wage notice does not meet the tip-credit notice requirement of the NYLL
where the document does not contain all of the language required under§ 146-2.2(a) and lists the
overtime rate incorrectly). The regular rate is defined as the amount that an employee is regularly
paid for each hour of work before subtracting a tip credit, if any. Id.§ 146-3.5. The notice shall
also state that extra pay is required if tips are insufficient to bring the employee up to the basic
minimum hourly rate. Id. Additionally, notices are required prior to any change in the employee's
hourly rates of pay. Id. These tip notification requirements "are strictly construed, and must be
satisfied even if the employee received tips at least equivalent to the minimum wage." He v. Home
on 8th Corp., No. 09 Civ. 5630, 2014 WL 3974670, at *5 (S.D.N.Y. Aug. 13, 2014).

       Here, Defendants failed to provide Plaintiffs and other FOH Workers with proper written
notice of the tip credit under the NYLL. Due to this failure to provide proper notice to FOH
Workers, Defendants cannot avail themselves of the tip credit minimum wage rate under the
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NYLL. See, e.g., Orellana v. One If By Land Restaurant LLC, No. 18 Civ. 7865 (VSB), 2020 WL
5768433, at *11 (S.D.N.Y. Sept. 27, 2020) (granting the plaintiffs summary judgment on the issue
of whether the defendants provided sufficient notice to take a tip credit); Chichinadze v. BG Bar
Inc., No. 18 Civ. 8069 (KPF), 2021 WL 429948, at *9 (E.D.N.Y. Feb. 21, 2021) (finding that the
Defendant failed to comply with the tip credit requirements under the FLSA and the NYLL);
Hernandez v. Jrpac Inc., No. 14 Civ. 4176 (PAE), 2016 WL 3248493, at *24-*26 (S.D.N.Y. June
9, 2016) (finding that the defendant may not utilize the tip credit where it failed to provide notice
under the FLSA and NYLL); Inclan v. New York Hospitality Grp., Inc., 95 F. Supp. 3d 490, 498
(2015) (granting summary judgment on the defendants' inability to claim tip credit where it failed
to provide notice under the FLSA and NYLL).

                   iii. Tipped Workers were required to perform non-tipped work for more
                       than 20% or 2 hours of their shift.

       Under the NYLL, if a tipped employee engages in side work for more than two hours and/or
20 percent of their time at work, whichever is less, the employer must pay the tipped employee the
full minimum wage for the employee's entire workday. See 12 N.Y.C.R.R. § 146-2.9; see also
Salinas v. Starjem Restaurant Corp., 123 F. Supp. 3d 442, 470-71 (S.D.N.Y. Aug. 12, 2015);
Rodriguez v. Solares Corp., No. 16 Civ. 3922 (CBA)(SMG), 2018 WL 7252949, *6 (E.D.N.Y.
Aug. 14, 2018); Camara v. Kenner, No. 16 Civ. 7078 (JGK), 2018 WL 1596195, *12 (S.D.N.Y.
Mar. 28, 2018) (denying the defendants summary judgment as to the plaintiffs' side work claims);
Gillian v. Starjem Rest. Corp., No. 10 Civ. 6056 (JSR), 2011 WL 4639842 (S.D.N.Y. Oct. 4,
2011).

        Here, Defendants made Plaintiffs perform an excessive amount of non-tipped side work.
In this regard, Plaintiffs and other FOH Workers were required to regularly perform side work
duties such as: 1) cleaning bathrooms, 2) cleaning windows, 3) pick up supplies from the
restaurant, 4) shovel snow and apply salt, 5) cleaning shelves, 6) scrapping the dining room floor,
7) cleaning the sidewalk, and 8) setting up the dining room. While the time necessary to complete
these duties varies, it regularly took over 20% or 2 hours of Plaintiffs shifts to complete all
assigned tasks. Additionally, some of the above side work occurs before and after each shift. For
instance, certain FOH Workers were required to arrive 30 to 40 minutes prior to the restaurant's
opening to perform side work and were also required to remain after the restaurant closes to finish
side work.

        As a result of the aforementioned violations, FOH Workers at The Bao and Uluh are
entitled to recover the amount of the tip credit taken for each hour worked.

                   iv. Defendants failed to pay FOH Workers for hours worked off-the-clock

        In addition to the above claims, Defendants failed to compensate Plaintiffs and FOR
Workers for all hours worked as required by the FLSA and NYLL. See NYLL Article 19 § 650 et
seq.; 12 N .Y.C.R.R. § 146-1.2; 29 U.S.C.§ 206. In this regard, Defendants required Plaintiffs and
other FOH Workers to clock out for lunch but continue to work throughout their break or were
instructed after they had already clocked out to continue working while they were on their break.
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Defendants did not compensate Plaintiffs and other FOH Workers for the time they worked "off-
the-clock." In fact, Defendants failed to accurately and appropriately document how much actual
time FOH Workers worked for the purpose of calculating their pay. As such, Defendants will be
unable to state they did not have actual or constructive knowledge of this uncompensated work.
See Kuebel v. Black & Decker Inc., 643 F.3d 352, 365 (2d Cir. 2011).

      As such, Defendants will be liable for all unpaid hours worked off-the-clock by Plaintiffs
and FOH Workers.

                   v. Unlawfully Deducted Breakage, Walk Outs, and Wrong Orders

        The FLSA does not allow employers to make deductions from its employees' wages if such
deductions reduce their wages below the applicable minimum wage rate. In addition to NYLL §
193 that prohibits almost all types of deductions from wages, the Hospitality Wage Order
specifically prohibits deductions for breakage and cash shortages. 12 N. Y. C.R.R. § 142-2.10. Here,
Plaintiffs and FOH Workers had their wages deducted if they accidently broke a plate, a customer
received the wrong order, and if a customer walked out on the bill. Thus, Defendants violated the
FLSA and NYLL for unlawful deductions

           B. Failure to Pay Overtime Compensation

        Both the FLSA and NYLL mandate that employers compensate their employees at no less
than 1.5 times their regular rate of pay for all hours worked in excess of 40 hours per workweek.
See 29 U.S.C. § 207; NYLL Article 19, §§ 650 et seq.; 12 N .Y.C.R.R. §§ 137-1.3, 146-14; see
also Martinez v. Dannys Athens Diner Inc., et al., No. 16 Civ. 7468 (RJS), 2017 WL 6335908, at
*2 (S.D.N.Y. Dec. 5, 2017).

        As described above, Defendants were not entitled to take a tip credit and were not entitled
to pay Plaintiffs and other FOH Workers at the tipped minimum wage. As Defendants paid
Plaintiffs and other FOH Workers subminimum wages, they also failed to pay them 1.5 times the
full minimum wage or regular rate of pay, whichever is greater, for all work in excess of 40 hours
per workweek. See 12 N.Y.C.R.R. 146-14; Cao, 2010 WL 4159391, at 2 n. 2. Additionally,
Defendants maintained a policy and practice of failing to maintain an accurate record of hours
worked. In this regard, Defendants require Plaintiffs and FOH Workers to clock out during their
breaks but continue working. Defendants did not compensate Plaintiffs and FOH Workers for
these hours worked off the clock.

      As a result, Defendants have violated the FLSA and NYLL and are liable to Plaintiffs and
FOH Workers for overtime compensation calculated 1.5 times their regular wage rate for all hours
worked in excess of 40 hours per workweek.
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           C. Tip Misappropriation

        An employer shall not "demand or accept, directly or indirectly, any part of the gratuities,
received by an employee, or retain any part of a gratuity or of any charge purported to be a gratuity
for an employee." NYLL, Article 6 § 196-d. As discussed above, Defendants required Plaintiffs
and FOH Workers to share tips with expeditors and managers, and at The Bao also with the soup
dumpling cook. As a result, Plaintiffs and FOH Workers are entitled to the value of the
misappropriated tips under the NYLL.

           D. Failure to Provide Proper Annual Wage Notices

         "Under the [NYLL], an employer must, at the time of an employee's hiring, and then
annually on or before the first of February, provide an employee with a wage notice containing,
inter alia, allowances claimed as part of the minimum wage." Inclan, 95 F. Supp. 3d at 501. Here,
Defendants failed to provide Plaintiffs and FOH Workers with annual wage notices that complied
with the NYLL § 195(l)(a). As such, pursuant to NYLL § 198(1-d), through February 26, 2015,
for each week that Defendants failed to provide the statutorily required notice to FOH Workers,
they are liable for $50.00 per workweek that the violation occurred, up to a maximum of$2,500.00,
plus attorneys' fees and costs and disbursements of the action. Effective February 27, 2015, the
penalties increased to $50.00 per workday that the violation occurred, up to a maximum of
$5,000.00 each, plus attorneys' fees and costs and disbursements of the action. See, e.g., Vazquez,
2021 WL 318215, at *2 (affirming the district court's grant on the plaintiffs' § 195(1)(a) claims
based on improper wage notices); Herrera v. Tri-State Kitchen & Bath, Inc., No. 14 Civ. 1695
(ARR), 2015 WL 1529653, at *6 (E.D.N.Y. Mar. 31, 2015) (finding the Defendant liable where
the plaintiffs never received a written statement from the Defendant at the time they were hired or
during their employment). We believe Defendants failed to provide proper wage notices to
Plaintiffs and FOH Workers.

           E. Failure to Provide Accurate Wage Statements

        The NYLL also requires that employers provide employees with a wage statement
accompanying every payment of wages. Wage statements must include, among other items, the
correct regular rate of pay, the number of regular hours worked, deductions, and any allowances,
if claimed as part of the minimum wage. NYLL Article 6, § 195(3). The NYLL defines the "regular
rate" for FOH Workers to "mean the amount that the employee is regularly paid for each hour of
work, before subtracting a tip credit, if any." 12 N.Y.C.R.R. § 146-3.5. Furthermore, wage
statements must expressly identify the per-hour amount of a tip credit and the total amount of the
tip-credit allowance. NYLL Article 6, § 195(3); see also Khereed v. West 12th Street Restaurant
Grp. LLC, No. 15 Civ. 1363 (PKC), 2016 WL 590233, at *4 (S.D.N.Y. Feb. 2, 2016). It is
important to note that NYLL § 195(3) "does not offer relief to an employer who pays an employee
properly even though it fails to comply with the strict requirements of the wage statement law."
Rodriguez v. Avondale Care Group, LLC, No. 16 Civ. 3084 (SN), 2018 WL 1582433, at *8
(S.D.N.Y. Mar. 27, 2018).
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        Defendants failed to provide Plaintiffs and FOH Workers with wage statements that
complied with the NYLL that showed the full regular rate of pay. It is our understanding that
Plaintiffs and FOH Workers were not given a wage statement that they were allowed to keep.
Instead, Defendants allowed Plaintiffs to keep a secondary wage statement that did not have the
full regular rate of pay, the amount of tip credit taken per hour, and all hours worked. As such, for
each week that Defendants failed to furnish accurate wage statements through February 26, 2015,
Defendants are liable for $100.00 per workweek that the violation occurred, up to a maximum of
$2,500.00 each, plus attorneys' fees and costs and disbursements of the action. Effective February
27, 2015, Defendants are liable for $250.00 per workday that the violation occurred, up to a
maximum of $5,000.00 each, plus attorneys' fees and costs and disbursements of the action. See
Bazignan v. Team Castle Hill Corp., No. 13 Civ. 8382 (PAC), 2015 WL 1000034, at *3 (S.D.N.Y.
Mar. 5, 2015) (awarding penalties for inaccurate wage statements).

  II.     INDIVIDUAL LIABILITY

       Richard Lam ("Lam") falls under the FLSA' s and NYLL' s definitions of an "employer" in
regards to his status as the owner and operator of The Bao and Uluh. The NYLL considers an
employer "any person, corporation, limited liability company, or association employing any
individual in any occupation, industry, trade, business or service." N.Y. Lab. Law § 190. The
FLSA defines an employer as "any person acting directly or indirectly in the interest of an
employer in relation to an employee." 29 U.S.C. § 203. "[T]o be an employer, an individual must
possess control over a company's actual 'operation' in a manner that relates to a plaintiffs
employment." Irizarry v Catsimatidis, 722 F3d 99, 109 (2d Cir 2013). Additionally, the FLSA
allows for employers to be held individually liable for violations of the statute. Alladin v.
Paramount Mgmt, LLC, No. 12 Civ. 4309 (JMF), 2013 WL 4526002, at *4 (S.D.N.Y. Aug. 27,
2013).

       Here, Lam is identified as the owners of The Bao and Uluh on the New York State
Department of State website and several news articles. Moreover, Lam is listed as principal for
The Bao and Uluh in the restaurants' New York Liquor License. All this, coupled with the closely
held nature of the corporations and the intimate management structures, will support a finding of
personal liability under the FLSA and NYLL.

  III.    DAMAGES

           A. Liquidated Damages
        Plaintiffs are entitled to liquidated damages due to Defendants' violations of the FLSA and
NYLL. "'Under the FLSA, a district court is generally required to award a plaintiff liquidated
damages equal in amount to actual damages' for violations of the FLSA's minimum wage and
overtime provisions." Inclan, No. 12 Civ. 4498 (NRB), 2015 WL 1399599, at *10 (S.D.N.Y. Mar.
26, 2015) (citation omitted). An employer who violates the FLSA is liable for unpaid wages "and
an additional equal amount as liquidated damages." 29 U.S.C. § 216(c). Liquidated damages are
not considered a penalty, but rather "compensation to the employee occasioned by the delay in
receiving wages due caused by the employer's violation of the FLSA." Herman v. RSR Sec. Servs.
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Ltd., 172 F.3d 132, 142 (2d Cir. 1999). An employer may avoid an award of FLSA liquidated
damages only if it can prove that its failure to pay proper minimum wages and overtime
compensation was in "good faith" and that the employer had "reasonable grounds" for believing
that its acts or omissions did not violate the FLSA. 29 U.S.C. § 260; Herman, 172 F.3d at 142;
see also Leevson v. Aqualife USA Inc., No. 17 Civ. 3868 (XAP), 2019 WL 1870494, at *2 (2d Cir.
2019) (affirming the district court's award of liquidated damages). A similar analysis applies for
damages asserted under certain state laws. For example, an employer who violates the NYLL is
also liable for 100 percent liquidated damages, unless the employer provides a good faith basis for
believing that its underpayment of wages was lawful. NYLL §§ 198(1-a), 663(1).

        Defendants will be unable to meet the good faith affirmative defense because they failed
to correct these wage and hour violations after a previous lawsuit against them that alleged similar
violations. Specifically, Defendants was named in a previous wage and hour lawsuits alleging
improper payments of minimum and overtime wages, spread of time pay, failure to provide meal
periods, and failure to keep records, provide wage notice, and statements. 1 Simply stated,
Defendants had notice of wage and hour issues related to FOH Workers and failed to fix the
problems.

        Additionally, in order to invoke a good faith defense, Defendants will have to waive any
attorney-client privilege because Plaintiffs are "entitled to know if [the defendant] ignored
counsel's advice." Scott v. Chipotle Mexican Grill, Inc., 67 F. Supp. 3d. 607, 616-18 (S.D.N.Y.
2014) (finding that "[w]here the defendant has clearly benefited from the advice of counsel on the
very issue on which it asserts good faith, it puts its relevant attorney-client communications at
issue and thereby waives its privilege"); see also Enea v. Bloomberg L.P., No. 12 Civ. 4656, 2015
WL 4979662, at *8 (S.D.N.Y. Aug. 20, 2015) (requiring defendant to "withdraw[] its defenses of
good faith and lack of willfulness" or ''tum over to the Court [] any previously unproduced
documents in its possession, custody, or control that concern the classification of its employees as
exempt under the FLSA orNYLL."); Hicks v. TL. Cannon Mgmt. Corp., No. 13 Civ. 6455 2015
WL 5167225, at *2 (W.D.N.Y. Sept. 3, 2015) (granting plaintiffs motion to compel "any
communications related to the Defendant's good faith defense" and to require Defendant's
corporate representatives to respond to deposition questions related to the defense"). As a result,
should Defendants plead the good faith defense, F&S would be entitled to discovery of their
counsel's advice relating to the company's wage and hour policies and to what extent Defendants
followed, or ignored, this advice.

               B. Prejudgment Interest under the NYLL
        The NYLL, unlike the FLSA, permits the award of both liquidated damages and
prejudgment interest. See Jiammin Jin v. Shanghai Original, Inc., No. 16-cv-5633 (ARR)(JO),
2019 WL 3244187, at *6 (E.D.N.Y. July 19, 2019) (citing Khurana v. JMP USA, Inc. , No. 14-CV-
4448 (SIL), 2017 WL 1251102, at *17 (E.D.N.Y. Apr. 5, 2017)). Under the NYLL, a prevailing
employee is entitled to prejudgment interest at a rate of 9% per year for a NYLL claim. See N.Y.
C.P.L.R. §§ 5001 , 5004. To calculate this number, courts generally use "the date between the
earliest [date] and latest [date] each Plaintiffs' NYLL claim accrued." Hernandez v. Njk

1   See Wu v. Eight Oranges, Inc. et al, l:20-cv-05786-LGS (SONY) 07/24/2020.
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Contractors, Inc., No. 09 Civ. 4812 (RER), 2015 WL 1966355, at *51 (E.D.N.Y. May 1, 2019)
(see also Coulibaly v. Millennium Super Car Wash, Inc., No. 12-CV-4760 (CBA)(CLP), 2013 WL
6021668, at *15 (E.D.N.Y. Nov. 13, 2013)).

             C. Attorneys' Fees and Costs

        Under both the FLSA and the NYLL, a prevailing plaintiff is entitled to recover reasonable
attorneys' fees and litigation expenses. Anthony v. Franklin First Fin., Ltd., 844 F. Supp. 2d 504,
506 (S.D.N.Y. 2012) (citing 29 U.S.C. § 216(b); NYLL § 663(1)). Accordingly, Plaintiffs will be
entitled to his attorneys ' fees and costs as permitted by state law. See, e.g., Berrezueta. Royal
Crown Pastry Shop, Inc., No. 12 Civ. 4380, 2013 WL 6579799 at *7 (E.D.N.Y. Dec. 16, 2013).

   IV.     PRESERVATION OF EVIDENCE

        Having received notice of these claims, Defendants are under an obligation to preserve all
documents relevant to the allegations raised in this letter. Absent a negotiated resolution, in the
course oflitigation we will request data and information including, but not limited to, e-mails, time
and payroll records, telephone and computer log-in records, and other electronically stored
information, plus all information pertaining to any good-faith defense that Defendants may raise
in this litigation. Such information could also include, but is not limited to, e-mails, word
processing documents, spreadsheets, calendars, network access information, employee policy
manuals, personnel files, and other relevant interoffice memoranda. Because electronic
information can be easily deleted, modified, or corrupted, Defendants should take every reasonable
step to preserve this information until the resolution of this matter. This includes, but is not limited
to, an obligation to discontinue all data destruction and back-up tape recycling policies.

   V.      CONCLUSION

       We are willing to postpone further action if Defendants are willing to engage in pre-suit
settlement discussions and agree to toll the statute of limitations of our clients (see Tolling
Agreement enclosed herein as Exhibit A). This process could substantially reduce Defendants'
exposure to attorneys' fees and costs, and limit interference with ongoing operations.

         Please contact us to discuss these allegations and our proposal for the parties to enter into
a tolling agreement enclosed herein. We request your reply on or before May 27, 2022. In addition,
we request that you place your insurance carrier(s) on notice regarding these claims.

         Thank you for your attention to this matter.

                                                               Sincerely,

                                                               Isl Brian S. Schaffer

                                                               Brian Schaffer
         Enclosure
